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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-01378-SKC

ROBIN SLOVER,

       Plaintiff,

v.

UNIVERSITY OF COLORADO, through its Board, THE REGENTS OF THE UNIVERSITY
OF COLORADO,

      Defendant.
______________________________________________________________________

                           JOINT STATUS REPORT
______________________________________________________________________
       Plaintiff, Robin Slover (“Dr. Slover”) and Defendant, the University of Colorado (“CU”)

submit this joint status report

       1.      The Parties have exchanged disclosures and are in the written discovery phase of

the case.

       2.      As of the date of this joint status report, there are no discovery issues that require

the Court’s attention.

       3.      On January 25, 2023, the Parties along with Children’s Hospital of Colorado

participated in a mediation session with Judge Pratt at JAG. Settlement discussions between the

parties in this case are ongoing and counsel remain optimistic that a mutual resolution can be

reached.
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     DATED this 23rd day of March, 2023.

                                               Respectfully submitted,

                                               s/David B. Seserman            .
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2023, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system which will send notification of such filing to all counsel of
record in the above-referenced matter, including:

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                                                      s/ David B. Seserman                  .
                                                     David B. Seserman




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